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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division


 HARALD SCHMIDT,

                Plaintiff,

        V.                                                    l:19-cv-1125(LMB/JFA)

 EQUIFAX INFORMATION SERVICES,LLC,

                Defendant.

                                             ORDER


       On October 10,2019,the Court stayed all proceedings in this civil action pending a

determination of the Judicial Panel on Multidistrict Litigation("JPML")regarding whether

plaintiff pro se Harold Schmidt's ("plaintiff or "Schmidt")claims against defendant Equifax

Information Services, LLC ("defendant" or "Equifax") should be transferred to the United States

District Court for the Northern District of Georgia to be consolidated into In re Equifax. Inc.

Customer Data Securitv Breach Litigation. MDL No. 2800,a multidistrict litigation proceeding.

[Dkt. 15]. On October 31,2019, after the JPML conditionally transferred Counts 1-8 to the In re

Equifax MDL,this action was unstayed as to Count 9.[Dkt. 16]. On February 14,2020, after the

JPML vacated its conditional transfer order,this action was unstayed as to Counts 1-8, which

"rejoin[ed]" Count 9.[Dkt. 58],

       The In re Equifax MDL has since been resolved by a global settlement agreement which

releases Equifax from liability on all claims that the settlement class members brought or could

have brought against it.[MDL No. 2800, Dkt. 739-2]. The settlement class, of which plaintiff is

imdisputedly a member, consists of"[t]he approximately 147 million U.S. consumers identified

by Equifax whose personal information was compromised as a result ofthe cyberattack and data

breach announced by Equifax Inc. on September 7, 2017."[MDL 2800, Dkt. 742]. The In re
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